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January 27, 2021                                                                      Dennis C. Hopkins
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VIA ECF

Honorable Laura Taylor Swain
United States District Court
Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street, Room 17C
New York, NY 10007

Re:      Monegro v. Pacific Market International, LLC
         Case No. 1:20-cv-10103-LTS

Defendant Pacific Market International, LLC’s Request for Extension of Time to Respond
to the Complaint

Dear Judge Swain:

We represent Defendant Pacific Market International, LLC (“Defendant”) in the above-
referenced action. We write to request an extension of time to respond to the Complaint in this
action until March 1, 2021, in order to allow time for additional investigation and discussion of
potential resolution. The current response date is January 29, 2021. Defendant has conferred
with counsel for the plaintiff, who consents to this request. This Court granted one previous
request for an extension of time to answer or otherwise respond to the complaint, which counsel
for Plaintiff consented to as well.

Thank you for your consideration.

Very truly yours,                                             Application GRANTED. SO ORDERED.

/s/ Dennis Hopkins
Dennis Hopkins
                                                              _______________________________
DCH:jp                                                        Barbara Moses, U.S.M.J.
                                                              January 28, 2021
cc:      All Counsel of Record (via ECF)




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